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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                 )
                                          )            Case No. 8:94CR95
              Plaintiff,                  )
                                          )
vs.                                       )               ORDER
                                          )
MICHAEL J. CRESTONI,                      )
                                          )
           Defendant.                     )



 The court has been presented a Financial Affidavit (CJA Form 23) signed by the above-
named defendant in support of a request for appointed counsel. After a review of the
Financial Affidavit, I find that the above-named defendant is eligible for appointment of
counsel pursuant to the Criminal Justice Act, 18 U.S.C. §3006A, and the Amended Criminal
Justice Act Plan for the District of Nebraska.

 IT IS ORDERED that Jonathan Braaten is appointed as attorney of record for the above-
named defendant in this matter and shall forthwith file an appearance in this matter.

 IT IS FURTHER ORDERED that the Federal Public Defender's Office shall forthwith
provide counsel with a draft appointment order (CJA Form 20) bearing the name and
other identifying information of the CJA Panel attorney identified in accordance with the
Criminal Justice Act Plan for this district.

 IT IS FURTHER ORDERED that the Clerk shall provide a copy of this order to the
Federal Public Defender for the District of Nebraska and the defendant’s attorney.

DATED June 15, 2012

                                   BY THE COURT

                                   s/Cheryl R. Zwart
                                   Cheryl R. Zwart
                                   United States Magistrate Judge
